Case 1:21-cv-10083-DJC   Document 112-1   Filed 12/07/23   Page 1 of 7




                     EXHIBIT A
     Case 1:21-cv-10083-DJC          Document 112-1         Filed 12/07/23    Page 2 of 7




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS



 GREATER BOSTON LEGAL SERVICES, et al.,                    DEFENDANTS’
                                                           CERTIFICATION
                       Plaintiffs,
        v.                                                 Case No.: 1:21-cv-10083-DJC

 UNITED STATES DEPARTMENT OF HOMELAND
      SECURITY, et al.,

                       Defendants.



       I, Ashley B. Caudill-Mirillo, declare as follows:

       1.     I am the Deputy Chief, Asylum Division, Refugee, Asylum and International

Operations Directorate, United States Citizenship and Immigration Services (USCIS).

       2.     The following declaration is based on my personal knowledge and information

acquired in my official capacity and in the performance of my official functions, as well as upon

reasonable inquiry of appropriate DHS databases and personnel regarding affirmative asylum

processing and adjudications.

       3.     I certify that the Amended Index attached hereto reflects, to the best of my

knowledge, a true and complete description of the non-privileged documents that were directly or

indirectly considered in connection with the promulgation of 8 C.F.R. § 208.12(b) and 8 C.F.R. §

240.69, as well as the agency’s guidance and procedures regarding exchanging information and

documents with affirmative asylum applicants and their counsel during USCIS’s adjudication of

the applicant’s Form I-589, Application for Asylum and for Withholding of Removal.




                                                1
     Case 1:21-cv-10083-DJC          Document 112-1         Filed 12/07/23         Page 3 of 7




      I declare under penalty of perjury that the foregoing is true and correct.

Dated: September 18, 2023
                                                    ASHLEY B      Digitally signed by ASHLEY
                                                                  B CAUDILL MIRILLO
                                                    CAUDILL       Date: 2023.09.18 13:06:31
                                                    MIRILLO       -04'00'
                                                    ____________________________
                                                    ASHLEY B. CAUDILL-MIRILLO




                                                2
   Case 1:21-cv-10083-DJC      Document 112-1    Filed 12/07/23   Page 4 of 7




                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MASSACHUSETTS



GREATER BOSTON LEGAL SERVICES, et al.,          AMENDED INDEX OF
                                                CERTIFIED ADMINISTRATIVE
                 Plaintiffs,                    RECORD
     v.
                                                Case No.: 1:21-cv-10083-DJC
UNITED STATES DEPARTMENT OF HOMELAND
     SECURITY, et al.,

                 Defendants.



          AMENDED INDEX OF CERTIFIED ADMINISTRATIVE RECORD

DOCUMENT       DESCRIPTION/TITLE                 BEGINNING       ENDING
 NUMBER                                            BATES          BATES
    1    DOJ, INS, Inspection and Expedited     USCIS00000001 USCIS000000074
         Removal of Aliens; Detention and
         Removal of Aliens; Conduct of
         Removal Proceedings; Asylum
         Procedures (NPRM), 62 FR 444 (Jan.
         3, 1997)
    2    DOJ, INS, Inspection and Expedited     USCIS00000075 USCIS000000158
         Removal of Aliens; Detention and
         Removal of Aliens; Conduct of
         Removal Proceedings; Asylum
         Procedures (IFR), 62 FR 10312 (Mar.
         6, 1997)
    3    DOJ, INS, INS No. 1788-96 Doc 1,       USCIS00000159     USCIS00000418
         Public Comments, 1997
    4    DOJ, INS, INS No. 1788-96 Doc 2,       USCIS00000419     USCIS00000684
         Public Comments, 1997
    5    DOJ, INS, INS No. 1788-96 Doc 3,       USCIS00000685     USCIS00000838
         Public Comments, 1997
    6    DOJ, INS, INS No. 1788-96 Doc 4,       USCIS00000839     USCIS00001042
         Public Comments, 1997
    7    DOJ, INS, INS No. 1788-96 Doc 5,       USCIS00001043     USCIS00001245
         Public Comments, 1997
    8    DOJ, INS, INS No. 1788-96 Doc 6,       USCIS00001246     USCIS00001351
         Public Comments, 1997


                                      1
Case 1:21-cv-10083-DJC     Document 112-1        Filed 12/07/23   Page 5 of 7




 9       DOJ, INS, INS No. 1788-96 Doc 7,        USCIS00001352    USCIS00001581
         Public Comments, 1997
 10      DOJ, INS, INS No. 1788-96 Doc 8,        USCIS00001582    USCIS00001844
         Public Comments, 1997
 11      DOJ, INS, INS No. 1788-96 Doc 9,        USCIS00001845    USCIS00002107
         Public Comments, 1997
 12      DOJ, INS, Asylum Procedures (Final      USCIS00002108    USCIS00002125
         Rule), 65 FR 76121 (Dec. 6, 2000)
 13      Suspension of Deportation and           USCIS00002126    USCIS00002144
         Special Rule Cancellation of
         Removal for Certain Nationals of
         Guatemala, El Salvador, and Former
         Soviet Bloc Countries (NPRM), 63
         FR 64895 (Nov. 24, 1998)
 14      DOJ, Suspension of Deportation and      USCIS00002145    USCIS00002171
         Special Rule Cancellation of
         Removal for Certain Nationals of
         Guatemala, El Salvador, and Former
         Soviet Bloc Countries (IFR), 64 FR
         27856 (May 21, 1999)
 15      DOJ, INS, INS No. 1915-98 Part 1,       USCIS00002172    USCIS00002394
         Public Comments, 1999
 16      DOJ, INS, INS No. 1915-98 Part 2,       USCIS00002395    USCIS00002611
         Public Comments, 1999
 17      DOJ, INS, INS No. 1915-98 Part 3,       USCIS00002612    USCIS00002795
         Public Comments, 1999
 18      DOJ, INS, INS No. 1915-98 Part 4,       USCIS00002796    USCIS00002989
         Public Comments, 1999
 19      DOJ, INS, INS No. 1915-98 Part 5,       USCIS00002990    USCIS00003170
         Public Comments, 1999
 20      I-589, Application for Asylum and       USCIS00003171    USCIS00003182
         for Withholding of Removal
 21      I-589 Instructions to Application for   USCIS00003183    USCIS00003196
         Asylum and For Withholding of
         Removal
 22      Affirmative Asylum Procedures           USCIS00003197    USCIS00003198
         Manual Table Of Contents
 23      Affirmative Asylum Procedures           USCIS00003199    USCIS00003203
         Manual Section II.I., Applicant
         Arrives for Interview
 24      Affirmative Asylum Procedures           USCIS00003204    USCIS00003224
         Manual Section II.J., AO Conducts
         an Asylum Interview
 25      Affirmative Asylum Procedures           USCIS00003225    USCIS00003227
         Manual Section II.K., AO Concludes
         an Asylum Interview

                                      2
Case 1:21-cv-10083-DJC     Document 112-1       Filed 12/07/23   Page 6 of 7




 26      Affirmative Asylum Procedures          USCIS00003228    USCIS00003230
         Manual Section II.N., AO Prepares a
         Decision
 27      Affirmative Asylum Procedures          USCIS00003231    USCIS00003233
         Manual Section II.Q., Asylum Office
         Serves the Decision on the Applicant
 28      Affirmative Asylum Procedures          USCIS00003234    USCIS00003234
         Manual, Section IV.A., Write an
         Assessment or NOID
 29      Refugee, Asylum and International      USCIS00003235    USCIS00003250
         Operations Directorate Officer
         Training Asylum Division Officer
         Training Course, Decision Writing
         Part I
 30      Affirmative Asylum Procedures          USCIS00003251    USCIS00003251
         Manual, Section IV.B., Prepare a
         Decision Letter
 31      Affirmative Asylum Procedures          USCIS00003252    USCIS00003252
         Manual, Section IV.C., Prepare a
         Notice to Appear (NTA)
 32      Interview Notice                       USCIS00003253    USCIS00003255
 33      Referral Notice; Referral After        USCIS00003256    USCIS00003258
         Notice of Intent to Deny (NOID) with
         Rebuttal – Over 150 Days
 34      Referral Notice – Less than 150 Days   USCIS00003259    USCIS00003261
         Elapsed
 35      Referral Notice – Over 150 Days        USCIS00003262    USCIS00003264
 36      Notice of Intent to Deny (NOID)        USCIS00003265    USCIS00003295
 37      Referral After Notice of Intent to     USCIS00003296    USCIS00003298
         Deny (NOID) No Rebuttal – Less
         than 150 Days
 38      Referral After Notice of Intent to     USCIS00003299    USCIS00003301
         Deny (NOID) No Rebuttal – Over
         150 Days
 39      Referral After Notice of Intent to     USCIS00003302    USCIS00003304
         Deny (NOID) with Rebuttal – Less
         than 150 Days
 40      Final Denial Notice                    USCIS00003305    USCIS00003306
 41      Affirmative Asylum Approval Notice     USCIS00003307    USCIS00003309
 42      Retention of Original Documents        USCIS00003310    USCIS00003310
 43      USCIS Records Manual – Table of        USCIS00003311    USCIS00003315
         Contents
 44      USCIS Records Manual – Table of        USCIS00003316    USCIS00003324
         Revisions



                                     3
Case 1:21-cv-10083-DJC      Document 112-1         Filed 12/07/23   Page 7 of 7




 45      USCIS Records Manual Vol.3-Part           USCIS00003325    USCIS00003329
         B, Chapter 7, Record of Proceedings
         (ROP)
 46      Form, G-639, Freedom of                   USCIS00003330    USCIS00003340
         Information/Privacy Request
 47      Nightingale, et al. v. USCIS et al.,      USCIS00003341    USCIS00003362
         Case No. 3:19-cv-03512-WHO,
         Declaration of Tammy M. Meckley,
         October 21, 2020, ECF No. 75-2
 48      Nightingale, et al. v. USCIS et al.,      USCIS00003363    USCIS00003368
         Case No. 3:19-cv-03512-WHO,
         Declaration of Tammy M. Meckley,
         March 15, 2023, ECF No. 151-1
 49      USCIS, FOIA/PA Check Status dated         USCIS00003369    USCIS00003370
         May 18, 2023, also available at
         https://first.uscis.gov/#/check-status,
         which updates processing rates daily
         to cover the prior 14 day period.
 50      Affirmative Asylum Procedures             USCIS00003371    USCIS00003371
         Manual, Section III.J.5 File
         Management, Record Order
 51      Affirmative Asylum Procedures             USCIS00003372    USCIS00003372
         Manual, Section IV.E. Prepare an I-
         94 Card.




                                       4
